                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )           No. 3:09-00244
                                                  )           JUDGE CAMPBELL
ROGER WAYNE BATTLE, et al.                        )


                                              ORDER

         Pending before the Court are the following motions on which the Court makes the

following rulings:

         Defendant Jessie Lobbins’ Motion For Bill Of Particulars (Docket No. 367) and

Defendant Battle’s Motion For A Bill Of Particulars (Docket No. 421) are DENIED, as the

Superseding Indictment (Docket No. 245), which is quite detailed, adequately sets forth the

elements of the offenses charged and sufficiently apprises the Defendants of the charges to

enable them to prepare for trial. See, e.g., United States v. Azad, 809 F.2d 291, 296 (6th Cir.

1987).

         Defendant Imes’ Motion To Sever Counts (Docket No. 359), Motion For Severance Of

Defendant Lobbins From Co-Defendants With the Exception Roger Wayne Battle (Docket No.

369), Defendant Lobbins’ Motion For Severance Of Offenses (Docket No. 370), Defendant

Smith’s Motion and Memorandum To Sever (Docket No. 407), Defendant Gary Eugene

Chapman’s Motion To Sever Counts (Docket No. 409), Defendant Battle’s Motion to Sever

(Counts) (Docket No. 426), and Defendant Battle’s Motion To Sever (Defendants) (Docket No.

427) are DENIED, as the counts in the Superseding Indictment (Docket No. 245) are sufficiently

related to permit their consideration in one trial, and Defendants have not identified prejudice




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resulting from the joinder of counts or Defendants that will not be sufficiently cured by less

drastic measures, such as limiting instructions. (See Docket No. 336).

       Defendant Battle’s Motion For Production Of Government’s Witness List (Docket No.

432) is DENIED.

       It is so ORDERED.



                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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